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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )
                                             )     CASE NO.: 4:20-CR-124-23
GUMECINDO RAMIREZ-PERALES                    )


      PROPOSED ORDER ON MOTION FOR LEAVE OF ABSENCE

      Before the Court, is defense counsel’s Motion for Leave of Absence for the

dates of June 14th thru 15th, July 28th thru August 6th, September 23rd thru October

1st, November 12th, and November 23rd thru 24th, 2021. Good cause having been

shown, the Motion is hereby granted.

      SO ORDERED this 5th day of May, 2021.


                                                    _________________________
                                                   Christopher L. Ray
                                                   United States Magistrate Judge
                                                   Southern District of Georgia
                                                   Savannah Division
